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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 In re:                                          §
                                                 §
 GALLERIA 2425 Owner, LLC                                 Case No. 23-34815 (JPN)
                                                 §
                                                 §        Chapter 11
                 Debtor.                         §
                                                 §


 WITNESS AND EXHIBIT LIST FOR DECEMBER 5, 2024 EMERGENCY HEARING
      ON NBK’S EMERGENCY MOTIONS TO ENFORCE SALE ORDER
                 (Related to ECF No. 838 and ECF No. 839)

          National Bank of Kuwait, S.A.K.P., New York Branch (“NBK”) and Houston 2425

Galleria, LLC (“NBK’s Assignee”), file this Witness and Exhibit List for the emergency hearing

to be held December 5, 2024 at 9:00 a.m. (prevailing Central Time) (the “Hearing”) on (1) NBK’s

(Renewed) Emergency Motion to Enforce Sale Order (Jetall Companies, Inc.) (ECF No. 838) and

(2) NBK’s Second Emergency Motion to Enforce Sale Order (2425 WL, LLC) (ECF No. 839).

                                          WITNESS LIST

          NBK and/or NBK’s Assignee may call the following witnesses at the Hearing:

          1.     Christopher R. Murray, Liquidating Trustee.

          2.     Lisa Skelton, Vice President & Senior General Manager, JLL.

          3.     Eric Nelson, Managing Director, Spaulding & Slye Investments.

          4.     Any witness called by any other party.

          5.     Any witness(es) necessary to rebut the testimony of any witness(es) called or

designated by any other party.
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                                       EXHIBIT LIST


Exhibit                  Description                    Offer Object Admit Disposition

  1.      Order Denying Motion to Prohibit Credit
          Bidding; ECF No. 535
 2-A.     Order Confirming Chapter 11 Plan of
          Liquidation of the Debtor; ECF No. 566
 2-B.     Memorandum Opinion; ECF No. 565
  3.      Order Granting Defendant’s Renewed
          Motion to Dismiss Complaint for Equitable
          Subordination and Damages; ECF No. 18;
          Adversary No. 24-03043
  4.      Order Dismissing Case; ECF No. 25;
          Adversary No. 24-3120 (case originally
          filed as Ali Choudhri v. National Bank of
          Kuwait, S.A.K.P., New York Branch, Cause
          No. 2024-27168 in the 129th Judicial
          District Court of Harris County, removed to
          bankruptcy court June 7, 2024)
  5.      Appellant’s Response in Opposition to
          Motion to Dismiss Appeal; ECF No. 9;
          Case No. 24-2590 (2425 WL, LLC’s appeal
          of the Confirmation Order)
  6.      Defendant Jetall Companies, Inc.’s First
          Amended and Supplemental Answer to
          Plaintiff’s Petition; Case No.
          241100353166; Houston 2425 Galleria
          LLC v. Jetall Companies, Inc.; In the
          Justice Court, Precinct 1, Place 1, Harris
          County, Texas
  7.      Eviction – Judgment/Dismissal Order
          NonJury; Case No. 241100353166;
          Houston 2425 Galleria LLC v. Jetall
          Companies, Inc.; In the Justice Court,
          Precinct 1, Place 1, Harris County, Texas
 8-A.     Debtor’s Schedules and SOFA; ECF No. 70
 8-B.     List of Equity Security Holders; ECF No.
          76
  9.      Declaration of Ali Choudhri in Support of
          Cash Collateral Motion and Motion to
          Determine Adequate Assurance Utility
          Payment; ECF No. 43-3
10-A.     Transcript of Hearing on Motion to Prohibit
          Credit Bid (June 17, 2024)


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Exhibit                   Description                     Offer Object Admit Disposition

 10-B.     Transcript of Confirmation Hearing (June
           19, 2024)
 10-C.     Transcript of Sale Hearing (July 8, 2024)
  11.      Chapter 11 Trustee’s Motion for Entry of
           an Order: (I) Approving Procedures for the
           Sale of Property Free and Clear of All
           Liens, Claims and Encumbrances; (II)
           Scheduling an Auction; (III) Authorizing
           Entry into the Stalking Horse Purchase
           Agreement; (III) Authorizing Entry into the
           Stalking Horse Purchase Agreement; (IV)
           Approving Assumption and Assignment
           Procedures; (V) Approving Form of Notice;
           and (VI) Granting Related Relief; ECF No.
           188
  12.      Notice of Proposed Stalking Horse
           Agreement; ECF No. 197 (executed
           Stalking Horse Agreement (“SHA”)
           attached at ECF No. 197-1) (with exhibits
           and attachments, if any)
 12-B.     SHA Exhibit B Special Warranty Deed
           (executed, with exhibits and attachments, if
           any)
 12-C.     SHA Exhibit C Seller’s FIRPTA Affidavit
           – Certification of Non-Foreign Status
           (executed, with exhibits and attachments, if
           any)
12-D.      SHA Exhibit D Bill of Sale (executed, with
           exhibits and attachments, if any)
 12-E.     SHA Exhibit E Assignment and
           Assumption (executed, with exhibits and
           attachments, if any)
  13.      Order (A) Approving Asset Purchase
           Agreement Between the Trustee and QB
           Loop Property LP; (B) Approving the Sale
           of the Property Free and Clear of All Liens,
           Claims, Encumbrances, and Other Interests;
           (C) Approving Assumption and
           Assignment of Executory Contracts and
           Leases; (D) Determining the Amounts
           Necessary to Cure Such Executory
           Contracts and Unexpired Leases; and (E)
           Granting Related Relief; ECF No. 608


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 Exhibit                    Description                   Offer Object Admit Disposition

   14.      November 18, 2024 Lightfoot Letter to
            Jetall Companies, Inc., Notice to Vacate,
            Notice of Eviction, Demand for Possession,
            Notice of Termination of Leasehold and
            Reservation of Rights
   15.      November 26, 2024 Letter to 2425 WL,
            LLC regarding Release of Lien; Sale Order
            dated July 8, 2024, Docket No. 608 in Case
            No. 23-34815-JPN
            Any exhibit identified or offered by any
            other party.
            Any exhibit necessary for impeachment
            and/or rebuttal purposes.


                                    RESERVATION OF RIGHTS

         NBK and NBK’s Assignee reserve the right to call or to introduce one or more, or none, of

the witnesses and exhibits listed above, and further reserve the right to supplement this Witness

and Exhibit List before the Hearing.




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DATED: December 4, 2024         PILLSBURY WINTHROP SHAW PITTMAN LLP

                                /s/ Charles C. Conrad
                                Charles C. Conrad
                                Texas Bar No. 24040721
                                Ryan Steinbrunner
                                Texas Bar No. 24093201
                                609 Main Street Suite 2000
                                Houston, TX 77002
                                Telephone: (713) 276-7600
                                Facsimile: (713) 276-7634
                                charles.conrad@pillsburylaw.com
                                ryan.steinbrunner@pillsburylaw.com

                                   -       and   -

                                Andrew M. Troop
                                Massachusetts Bar No. MA547179
                                Patrick E. Fitzmaurice*
                                Kwame O. Akuffo*
                                31 West 52nd Street
                                New York, NY 10019-6131
                                Telephone: (212) 858-1000
                                Facsimile: (212) 858-1500
                                andrew.troop@pillsburylaw.com
                                patrick.fitzmaurice@pillsburylaw.com
                                kwame.akuffo@pillsburylaw.com

                                *Admitted pro hac vice

                                Counsel for National Bank of Kuwait, S.A.K.P., New
                                York Branch




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